              Case 2:24-mj-30118-DUTY ECF No. 1, PageID.1
                                           AUSA:             Filed 03/30/24 Telephone:
                                                    Erin Ramamurthy          Page 1 of(313)
                                                                                        12 920-0723
AO 91 (Rev. ) Criminal Complaint            Task Force Officer:      Dominic Michels               Telephone: (734) 502-4730

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                Eastern District of Michigan

United States of America
   v.
                                                                                              Case: 2:24−mj−30118
Barry Willis                                                               Case No.           Assigned To : Unassigned
                                                                                              Assign. Date : 4/1/2024
                                                                                              Description: COMP USA V. WILLIS
                                                                                              (KB)




                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                   March 28, 2024               in the county of                Wayne      in the
       Eastern            District of      Michigan         , the defendant(s) violated:
                  Code Section                                             Offense Description
21 U.S.C. § 841(a)(1)                                    Distribution of Controlled Substances
                                                         Possession with Intent to Distribute Controlled Substances




         This criminal complaint is based on these facts:
see attached affidavit.




✔ Continued on the attached sheet.

                                                                                            Complainant’s signature

                                                                                 Dominic Michels, Task Force Officer (DEA)
                                                                                             Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: March 30, 2024                                                                           Judge’s signature

City and state: Detroit, Michigan                                          Anthony P. Patti, United States Magistrate Judge
                                                                                             Printed name and title
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                                   AFFIDAVIT

      I, Dominic Michels, being duly sworn on oath, state as follows:

                      Introduction and Agent Background

      1.     I, Dominic Michels, am a Task Force Officer assigned to the Drug

Enforcement Administration (DEA), Detroit Division of the U.S. I am sworn and

empowered to investigate criminal activity as it relates to Title 21, U.S.C. Sections

841(a)(1), 846, and 843(b). I have been a Task Force Officer for eight months and

have eight years of law-enforcement experience. In addition to my assignment as a

Task Force Officer, I am currently a commissioned police officer with the Livonia

Police Department where I have served for eight years. While employed, I have

investigated drug violations, crimes against property, and crimes against people.

      2.     Prior to and since my assignment as a Task Force Officer, I have

received additional, specialized training in investigating drug trafficking and

money laundering. Further, I have worked with more experienced agents in

investigations into possessing, manufacturing, distributing, and importing

controlled substances, as well as how to finance drug transactions and launder drug

proceeds.

      3.     The facts contained in this affidavit are based on my review of

information provided to me by other law enforcement agents, witnesses, and

individuals with knowledge of this matter, as well as my own investigation. The


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information provided below is for the limited purpose of obtaining the requested

criminal complaint and does not contain all details or all facts of which I am aware

related to this investigation.

      4.     This affidavit is made in support of an application for a criminal

complaint and warrant to arrest Barry Anthony WILLIS for violations of Title 21,

United States Code, Section 841(a)(1) distribution and possession with intent to

distribute controlled substances.

                          Identification of Barry WILLIS

      5.     In late September of 2023, Livonia Police Department Officer Tamer

received information from a cooperating individual, hereinafter referred to as “the

CI” about a subject personally known to the CI as “Blue”, who is involved in the

sale and distribution of heroin. “Blue” was described as black male, approximately

55 years of age with a gray beard, approximately 6’1’’ with a heavier build. The CI

stated that “Blue” owned a gas station with an adjoining car wash on the east side

of Livernois, North of Davison in the City of Detroit. The CI also provided the cell

phone number “248-653-XXXX” for “Blue”.

      6.     Officer Tamer located a Citgo Gas station with an adjoining car wash

near Livernois and Davison which was consistent with the information provided by

the CI. The address of this business was 13730 Livernois, Detroit, Michigan (the

Livernois Location), and Officer Tamer concluded it was associated with Barry


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WILLIS, who was also associated with an address of 42105 Dorchester Court

Clinton Township, Michigan (the Dorchester Court Location). Officer Tamer

then searched the Michigan Secretary of State computer system for WILLIS,

obtained his driver’s license photo, and showed it to the CI. The CI immediately

identified the subject in the photograph as “Blue”, the same subject from whom

he/she has personally purchased heroin on multiple occasions in the past.

      7.     Additionally, a search of the Macomb County Tax Assessor’s Office

shows that Barry WILLIS is the taxpayer of the Dorchester Court Location.

Officer Tamer also discovered that WILLIS is listed as the administrator of

Livernois Ave Holding LLC and Soap’s Group LLC, both located at the Livernois

Location. WILLIS is listed as the officer and principal of this location, which

investigators determined to be the Citgo gas station and adjoining car wash. A

State of Michigan Licensing and Regulatory Affairs (LARA) entity search

revealed that Barry A WILLIS is listed as the resident agent for Livernois Ave

Holdings LLC.

                     First Controlled Purchase of Narcotics

      8.     In Late February of 2024, Officer Tamer directed the CI to contact

WILLIS via cell phone 248-653-XXXX and inquire about the purchase of heroin.

During the conversation, WILLIS agreed to supply the CI with a quantity of heroin




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and a meeting location was established. Officer Tamer monitored and recorded the

conversation with the permission of the CI.

      9.     Members of the Livonia Police Intelligence Bureau established

surveillance at the pre-arranged meeting location. Officer Tamer searched the CI’s

person as well as his/her vehicle and did not locate any money and/or controlled

substances. Officer Tamer then issued pre-recorded buy funds to the CI. Officer

Tamer followed the CI directly to the pre-arranged meeting location.

      10.    Officer Kirn observed the CI pull into the pre-arranged meeting

location and park. A short time later, Officer Kirn observed the arrival of a dark

green Jeep Gladiator registered to Barry WILLIS. The Jeep Gladiator parked

behind the CI’s vehicle. The CI got out of the driver’s seat of his/her vehicle and

entered the front passenger seat of the Jeep Gladiator. Moments later, the CI got

out of the front passenger seat of the Jeep Gladiator and walked back over to the

driver’s seat of his/her vehicle. The Jeep Gladiator then drove away. Members of

the Livonia Police Intelligence Bureau followed the Jeep Gladiator directly to the

residence of 20203 Littlefield, Detroit, Michigan (the Littlefield Location). The

CI drove away from the meeting location and Officer Tamer followed the CI

directly to another pre-arranged meeting location.

      11.    Officer Tamer and the CI arrived at the pre-arranged meeting location.

The CI then turned over a quantity of suspected heroin to Officer Tamer. The CI


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informed Officer Tamer that when he/she arrived at the meeting location,

“Blue” (aka WILLIS) arrived a short time later. The CI exited his/her vehicle and

entered the front passenger seat of WILLIS’s Green Jeep Gladiator. The CI stated

WILLIS handed him/her a quantity of suspected heroin. The CI stated that in

return, as payment for the suspected heroin, the CI handed WILLIS the pre-

recorded buy funds. The CI stated he/she then got out of WILLIS’s Jeep Gladiator

and returned to his/her vehicle. Officer Tamer then conducted a thorough search of

the CI and the CI’s vehicle and did not find any money and/or controlled

substances. The CI was then released.

      12.    Officer Tamer conducted a field test of the suspected heroin using the

Nark II 33 Fentanyl reagent test kit on the quantity of the suspected heroin

purchased from Willis, which resulted in the positive response for the presence of

Fentanyl, a schedule 2 narcotic.

                    Second Controlled Purchase of Narcotics

      13.    In late March of 2024, Officer Tamer directed the CI to contact

WILLIS via cell phone 248-653-XXXX and inquire about the purchase of heroin.

During the conversation, WILLIS agreed to supply the CI with a quantity of heroin

and a meeting location was established. Officer Tamer monitored and recorded the

conversation with the permission of the CI.




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      14.    Members of the Livonia Police Intelligence Bureau established

surveillance at the pre-arranged meeting location as well as the Littlefield

Location. Officer Gagnon observed WILLIS’s gray 2022 Jeep Grand Cherokee

parked in the driveway, in front of the garage.

      15.    Officer Tamer searched the person of the CI and the CI’s vehicle,

resulting in the recovery of no money and/or controlled substances. Officer Tamer

then issued pre-recorded buy funds to the CI and followed the CI directly to the

pre-arranged meeting location.

      16.    A short time later, Officer Gagnon observed WILLIS leave the

Littlefield Location through the side door and walk over to the 2022 gray Jeep

Grand Cherokee parked in the driveway. WILLIS got into the driver’s seat and

drove away. Members of the Livonia Police Intelligence Bureau followed WILLIS.

During the surveillance, officers observed WILLIS meet with another vehicle

where WILLIS did a hand-to-hand transaction, consistent with a narcotics

transaction with the driver of that vehicle. WILLIS then left and drove directly to

the pre-arranged meeting location.

      17.    Officer Alhajar observed WILLIS arrive at the pre-arranged meeting

location and park. Seconds later, the Jeep Grand Cherokee parked behind the CI’s

vehicle. The CI got out of the driver’s seat of his/her vehicle and entered the front

passenger seat of the Jeep Grand Cherokee. Moments later, the CI got out of the


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front passenger seat of the Jeep Grand Cherokee and walked back over to the

driver’s seat of his/her vehicle. The Jeep Grand Cherokee then drove away.

Members of the Livonia Police Intelligence Bureau followed the Jeep Grand

Cherokee. The CI drove away from the meeting location and Officer Tamer

followed the CI to another pre-arranged meeting location.

      18.    Officer Tamer and the CI arrived at the pre-arranged meeting location.

The CI then turned over a quantity of suspected heroin to Officer Tamer. The CI

informed Officer Tamer that when he/she arrived at the meet location, WILLIS

arrived a short time later. The CI got out of his/her vehicle and into the front

passenger seat of WILLIS’s Gray Jeep Grand Cherokee. The CI stated WILLIS

handed him/her a quantity of suspected heroin. The CI stated that in return, as

payment for the suspected heroin, he/she handed WILLIS the buy funds. The CI

stated he/she then got out of WILLIS’s Jeep Grand Cherokee and returned to

his/her vehicle. Officer Tamer then conducted a thorough search of the CI and the

CI’s vehicle but did not find any money and/or controlled substances. The CI was

then released.

      19.    Officer Tamer conducted a field test using the Nark II 33 Fentanyl

reagent test kit on the quantity of the suspected heroin purchased from WILLIS,

which resulted in the positive response for the presence of Fentanyl, a schedule 2

narcotic.


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                      March 2024 Surveillance of WILLIS

      20.    In Early March of 2024, members of the Livonia Police Intelligence

Bureau established surveillance on the green Jeep Gladiator bearing Michigan

registered to WILLIS at Savy Sliders located at 14350 Livernois, a business owned

by WILLIS’s wife. Moments later, Officer Gagnon saw WILLIS exit the business

and load boxes into the Jeep Gladiator. A short time later, WILLIS got into the

driver’s seat and drove away. WILLIS was followed directly to the Livernois

Location and began unloading boxes. WILLIS took multiple boxes into the Citgo

gas station. A short time later, WILLIS got into the driver’s seat and drove away.

WILLIS was followed again and eventually arrived at the Littlefield Location.

      21.    In late March of 2024, Officer Tamer observed a black 2023

Chevrolet Tahoe bearing Michigan License plate 2PAG43 parked in the driveway

of the Dorchester Court Location, Clinton Township, Michigan. The Chevrolet

Tahoe was previously identified as a vehicle registered to and driven by Makisha

WILLIS, Barry WILLIS’s wife. Additionally, Officer Tamer observed the name

“Willis” present on the mailbox in front of the residence.

      22.    In late March 2024, members of the Livonia Police Intelligence

Bureau established surveillance on the Dorchester Court Location. Officer

Gagnon observed WILLIS’s gray Jeep Grand Cherokee parked in the driveway. A

short time later, Officer Alhajar saw WILLIS leave the Dorchester Court


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Location in his gray Jeep Grand Cherokee and drive to the Littlefield Location

with a case of water.

      23.    Shortly after WILLIS arrived at the Littlefield Location, WILLIS left

and drove to the area of St. Martins and Washburn. The Jeep Grand Cherokee

parked on the curb and WILLIS remained in the driver’s seat. Moments later,

officers saw a black Lincoln SUV park behind WILLIS’s Jeep. Officers saw an

unknown black male exit the driver’s seat of the Lincoln SUV and walk up to the

front passenger door of the Jeep Grand Cherokee. Seconds later, officers observed

the unknown black male return to the driver’s seat of the Lincoln SUV. Both the

Jeep Grand Cherokee and the Lincoln SUV then drove away. This interaction is

consistent with a narcotics transaction.

                    Search of the Dorchester Court Location

      24.    On March 28, 2024, I, along with members of the Livonia Police

Intelligence Bureau and Clinton Township Police Department, executed a narcotics

search warrant at the Dorchester Court Location, determined to be WILLIS’s

residence. The warrant was approved by Wayne County Assistant Prosecutor Ryan

Lukiewski and signed by Judge Sean Kavanagh of the 16th District Court of

Livonia.

      25.    Upon execution of the search warrant officers located and took Barry

WILLIS into custody. A search of the residence resulted in the seizure of $133,242


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of suspected narcotics proceeds, ten watches, one gold chain with a platinum

pendant, and one handgun.

                         Search of the Littlefield Location

      26.    On March 28, 2024, I, along with members of the Livonia Police

Intelligence Bureau and members of the Michigan State Police, executed a

narcotics search warrant at the Littlefield Location, which investigators suspected

to be WILLIS’s stash house. The warrant was approved by Wayne County

Assistant Prosecutor Ryan Lukiewski and signed by Judge Sean Kavanagh of the

16th District Court of Livonia.

      27.    Upon execution of the warrant, officers located and took Frances

BRYANT into custody. A search of the Littlefield Location resulted in the

seizure of over 2.6 kilograms of cocaine, over 41 kilograms of fentanyl both in

powder and pill form, a large pill press, a small pill press, a narcotics press, a

handgun, narcotics packaging materials, narcotics scales, and $18,000 of suspected

narcotics proceeds. Within the $18,000 recovered from the Littlefield Location,

officers located $400 of pre-recorded buy funds.

                         Search of the Livernois Location

      28.     On March 28, 2024, members of the Livonia Police Intelligence

Bureau and members of the Michigan State Police conducted a narcotics search




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warrant at the Livernois Location. The warrant was signed by Judge Sean

Kavanagh of the 16th District Court of Livonia.

      29.    Upon execution of the search warrant officers located $3,053 of

suspected narcotics proceeds as well as a handgun.

      30.    Based upon the foregoing, there is probable cause to believe that

WILLIS knowingly violated Title 21, United States Code, Section 841(a)(1)

distribution and possession with intent to distribute controlled substances.




                                               Respectfully Submitted,


                                              __________________________
                                               Dominic Michels
                                               Task Force Officer
                                               Drug Enforcement Administration



Subscribed and sworn to before me and
signed in my presence and/or by reliable
electronic means.


_________________________
Honorable Anthony P. Patti
United States Magistrate Judge
Eastern District of Michigan
March 30, 2024




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